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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

(DEPARTMENT OF CORRECTIONS

Defendant.

EASTERN DIVISION
BRANDY MORR.IS, )
)
Plaintiff, )
)
v. ) Case No. 1:04-1308 T/An
)
STATE OF TENNESSEE )
)
)
)

 

SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates
were established as the final dates for:

RULE 26(a)(1) DISCLOSURE DEADLINE: JUNE 10 2005

 

JOINING PARTIES: JUNE 30 2005

 

AMENDING PLEADINGS: JUNE 30 2005

 

COMPLETING ALL DISCOVERY:
(a) DOCUMENT PRODUCTION: DECEMBER 19 2005

 

(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS FOR
ADMISSIONS: DECEMBER 19 2005

 

(c) EXPERT DISCLOSURE (Rule 26):

(1) DISCLOSURE OF PLAINTIFF'S RULE 26 EXPERT
INFORMATION: OCTOBER 17 2005

 

(2) DISCLOSURE OF DEFENDANT'S RULE 26 EXPERT
INFORMATION: NOVEMBER 15 2005

 

Th\s document entered on the docket sheet tn compt'¢ance
with Rute 58 and.'or,?Q (a} FRCP on

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FILING PRETRIAL MOTIONS (INCLUDING MOTIONS FOR SUMMARY
JUDGMENT): JANUARY 17 2006. Any response to a dispositive motion,
including a motion for summary judgment, shall be filed within 30 days of the
filing of the dispositive motion.

 

FINAL LIsT oF wrrNEssEs AND EXHIBITS (Rule zs(a)(s)):
(a) PLAINTIFF; MARCH1 2006

 

(b) DEFENDANT: MARCH 20 2006

 

Parties shall have 14 days after service of final lists of witnesses and exhibits to
file objections under rule 26(a)(3).

The trial of this matter is expected to last three to four days, and is SET FOR
JURY TRIAL at 9:30 a.m. on APRIL 17 2006 . A joint pretrial order shall be
submitted no later than 5 :00 p.m. on APRIL 7 2006 . In the event the parties are
unable to agree on a joint pretrial order, the parties must notify the coLut at least ten days
before trial.

 

 

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by
the deadline for completion of discovery. F or example, if the FRCP allow 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and served by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is
the subject of the motion if the default occurs within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or any
objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter.
Neither party may file an additional reply, however, without leave of the court. If a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties, or an emergency arises which precludes
the matter from proceeding to trial.

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The parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discoverv.

This order has been entered after consultation with trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be
modified or extended.

IT lS SO ORDERED.
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S. THOMAS ANDERSON
UNITED STATES MAGIS'I`RATE JUDGE

DATE; 777#7 /6,. 200(

AGREED AND APPROVED FOR ENTRY:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01308 was distributed by faX, mail, or direct printing on
May 17, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

